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            EXHIBIT J
      Case 4:20-cv-05640-YGR Document 450-10 Filed 04/14/21 Page 2 of 15
                                                                           APPENDIX A


                                      &XUULFXOXP9LWDH
                                     /RULQ0RXOWULH+LWW

=KDQJ-LQGRQJ3URIHVVRU
2SHUDWLRQV,QIRUPDWLRQDQG'HFLVLRQV'HSDUWPHQW
8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO
-RQ0+XQWVPDQ+DOO
3KLODGHOSKLD3$
  
(PDLOOKLWW#ZKDUWRQXSHQQHGX
ZZZKWWSZZZLHFRQQHW

(GXFDWLRQDO+LVWRU\

0DVVDFKXVHWWV,QVWLWXWHRI   3K'0DQDJHPHQW  
7HFKQRORJ\                  &RQFHQWUDWLRQLQ,QIRUPDWLRQ7HFKQRORJ\DQG(FRQRPLFV
                              'LVVHUWDWLRQ7LWOH³(FRQRPLF$QDO\VLVRI,QIRUPDWLRQ7HFKQRORJ\
                              DQG2UJDQL]DWLRQ´
                              &RPPLWWHH(ULN%U\QMROIVVRQ 0,7FKDLU =YL*ULOLFKHV +DUYDUG 
                              7KRPDV:0DORQH 0,7 

%URZQ8QLYHUVLW\            06(OHFWULFDO(QJLQHHULQJ 

%URZQ8QLYHUVLW\             6F%(OHFWULFDO(QJLQHHULQJZLWK+RQRUV0DJQD&XP/DXGH  

(PSOR\PHQW+LVWRU\

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Zhang Jindong Professor,
Operations, Information and Decisions Department (formerly OPIM) SUHVHQW 

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Dean’s Chair Professor,
Department of Operations and Information Management  

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Professor of Operations and
Information Management, Department of Operations and Information Management  

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Class of 1942 Professor (Term
Chair), Department of Operations and Information Management  

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Alberto Vitale Term Associate
Professor of Operations and Information Management (2002-2008).

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Alberto Vitale Term Assistant
Professor of Operations and Information Management (2000-2002).

8QLYHUVLW\RI3HQQV\OYDQLD:KDUWRQ6FKRRO3KLODGHOSKLD3$Assistant Professor of Operations
and Information Management (1996-2000).

0DVVDFKXVHWWV,QVWLWXWHRI7HFKQRORJ\,QGXVWULDO3HUIRUPDQFH&HQWHU&DPEULGJH0$
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          Case 4:20-cv-05640-YGR Document 450-10 Filed 04/14/21 Page 3 of 15
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    Graduate Fellow (1995-1996).
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    0DVVDFKXVHWWV,QVWLWXWHRI7HFKQRORJ\&HQWHUIRU&RRUGLQDWLRQ6FLHQFH&DPEULGJH0$
    Research Assistant (1992-1996).
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    %URZQ8QLYHUVLW\'HSDUWPHQWRI(QJLQHHULQJ3URYLGHQFH5,DQG,%07-:DWVRQ5HVHDUFK
    &HQWHU<RUNWRZQ+HLJKWV1<Graduate Research Assistant (1988-89)
    
    %URZQ8QLYHUVLW\'HSDUWPHQWRI(QJLQHHULQJ3URYLGHQFH5,Research Assistant (1987-88)
   
    2OLYHU:\PDQDQG&RPSDQ\1HZ<RUN1< Consultant (1989-1992).
    
    +DUU\'LDPRQG/DERUDWRULHV$GHOSKL0'Engineering Technician (1984-87)
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    $UWLFOHV3XEOLVKHGLQ5HIHUHHG-RXUQDOV
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       :X/\QQ+LWW/RULQ0DQG%RZHQ/RX  ³'DWD$QDO\WLFV6NLOOV,QQRYDWLRQDQG
          )LUP3URGXFWLYLW\´0DQDJHPHQW6FLHQFH  

     :X/\QQ+LWW/RULQ0DQG%RZHQ/RX  ³'DWD$QDO\WLFV6XSSRUWV'HFHQWUDOL]HG
        ,QQRYDWLRQ&RPPXQLWLHV´Management Science  

     %DYDID+HVVDPDQG+LWW/RULQ0DQG7HUZLHVFK&KULVWLDQ  ³7KH,PSDFWRI(9LVLWV
        RQ9LVLW)UHTXHQFLHVDQG3DWLHQW+HDOWK(YLGHQFHIURP3ULPDU\&DUH´Management Science
          
     7DQ)DQJ\XQ1HWHVVLQH6HUJHLDQG/RULQ0+LWW  ³,V7RP&UXLVH7KUHDWHQHG"$Q
        (PSLULFDO6WXG\RIWKH,PSDFWRI3URGXFW9DULHW\RQ'HPDQG&RQFHQWUDWLRQ´Information
        Systems Research   

     $YJDU$ULHO7DPEH3UDVDQQDDQG/RULQ0+LWW  ³%XLOWWR/HDUQ+RZ:RUN
        3UDFWLFHV$IIHFW(PSOR\HH/HDUQLQJ'XULQJ+HDOWKFDUH,QIRUPDWLRQ7HFKQRORJ\
        ,PSOHPHQWDWLRQ´MIS Quarterly   DSUHYLRXVYHUVLRQDSSHDUHGDV³7KH
        (IIHFWVRI2UJDQL]DWLRQDO)DFWRUVRQ+HDOWKFDUH,7$GRSWLRQ&RVWV(YLGHQFHIURP1HZ
        <RUN1XUVLQJ+RPHV´Proceedings of the 2009 Hawaii International Conference on
        Systems Sciences: HICSS-43 

     :X/\QQ-LQ)XMLHDQG/RULQ0+LWW  ³$UH$OO6SLOORYHUV&UHDWHG(TXDO"$
        1HWZRUN3HUVSHFWLYHRQ,7/DERU0RYHPHQW´Management Science    $
        SUHYLRXVYHUVLRQDSSHDUHGDV:X/\QQ-LQ)XMLHDQG/RULQ0+LWW  ³$UH$OO
        6SLOORYHUV&UHDWHG(TXDO"$1HWZRUN3HUVSHFWLYHRQ,7/DERU0RYHPHQWV´Proceedings of
        the 33rd Annual International Conference on Information Systems 

     +LWW/RULQ0DQG3UDVDQQD7DPEH  ³+HDOWK&DUH,QIRUPDWLRQ7HFKQRORJ\:RUN
        2UJDQL]DWLRQDQG1XUVLQJ+RPH3HUIRUPDQFH´ILR Review  
     7DPEH3UDVDQQDDQG/RULQ0+LWW  ³0HDVXULQJ,QIRUPDWLRQ7HFKQRORJ\
        6SLOORYHUV´Information Systems Research    $SUHYLRXVYHUVLRQDSSHDUHGDV
        +LWW/RULQ0DQG6RQQ\7DPEH  ³0HDVXULQJ6SLOORYHUVIURP,QIRUPDWLRQ
        7HFKQRORJ\,QYHVWPHQWV´Proceedings of the 25th Annual International Conference on
        Information Systems 


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     Case 4:20-cv-05640-YGR Document 450-10 Filed 04/14/21 Page 4 of 15
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 7DPEH3UDVDQQDDQG/RULQ0+LWW  ³-RE+RSSLQJ,QIRUPDWLRQ7HFKQRORJ\
    6SLOORYHUVDQG3URGXFWLYLW\*URZWK´Management Science    $SUHYLRXV
    YHUVLRQDSSHDUHGDV7DPEH6RQQ\DQG/RULQ0+LWW  ³-RE+RSSLQJ.QRZOHGJH
    6SLOORYHUVDQG5HJLRQDO5HWXUQVWR,QIRUPDWLRQ7HFKQRORJ\,QYHVWPHQWV´Proceedings of
    the 29th Annual International Conference on Information Systems.  )LQDOLVW0DQDJHPHQW
    6FLHQFH%HVW3DSHU$ZDUG,6$UHD:LQQHU0DQDJHPHQW6FLHQFH%HVW3DSHU$ZDUG,6
    $UHD 

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    $QDO\WLFDODQG([SHULPHQWDO,QYHVWLJDWLRQRI,79DOXH/HDUQLQJDQG&RQWUDFW6WUXFWXUH´
    Information Systems Research   $SUHYLRXVYHUVLRQDSSHDUHGDV:X'-
    'LQJ0LQDQG/RULQ0+LWW  ³/HDUQLQJLQ(53&RQWUDFWLQJ$3ULQFLSDO$JHQW
    $QDO\VLV´Proceedings of the 37th Annual Hawaii International Conference on System
    Sciences+RQROXOX+, 
*DR*RUGRQDQG/RULQ0+LWW  ³,7DQG7UDGHPDUNV,PSOLFDWLRQVIRU3URGXFW
    9DULHW\´Management Science   >$SUHYLRXVYHUVLRQDSSHDUHGDV*DR
    *RUGRQDQG/RULQ0+LWW  ³,7DQG3URGXFW9DULHW\(YLGHQFHIURP3DQHO'DWD´
    Proceedings of the 25th Annual International Conference on Information Systems
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7DPEH3UDVDQQDDQG/RULQ0+LWW  ³,QIRUPDWLRQ7HFKQRORJ\DQG3URGXFWLYLW\
    (YLGHQFHIURP1HZ)LUP/HYHO'DWD´Information Systems Research
    23(9):599-617 :LQQHURIWKH,65%HVW3DSHU$ZDUG 
)LHOG-R\;XH0HLDQG/RULQ0+LWW  ³/HDUQLQJE\FXVWRPHUVDVFRSURGXFHUVLQ
    ILQDQFLDOVHUYLFHV$QHPSLULFDOVWXG\RIWKHHIIHFWVRIOHDUQLQJFKDQQHOVDQGFXVWRPHU
    FKDUDFWHULVWLFV´Operations Management Research  -XQH
7DPEH3UDVDQQDDQG/RULQ0+LWW  ³1RZ,7¶V3HUVRQDO2IIVKRULQJDQGWKH
    6KLIWLQJ6NLOO&RPSRVLWLRQRIWKH86,QIRUPDWLRQ7HFKQRORJ\:RUNIRUFH´Management
    Science 58(4): 678-695>$SUHYLRXVYHUVLRQDSSHDUHGDV7DPEH6RQQ\DQG/RULQ0
    +LWW  ³1RZ,7¶V3HUVRQDO2IIVKRULQJDQGWKH6KLIWLQJ6NLOO&RPSRVLWLRQRIWKH86
    ,QIRUPDWLRQ7HFKQRORJ\:RUNIRUFH´Proceedings of the 29th Annual International
    Conference on Information Systems@ )LQDOLVW0DQDJHPHQW6FLHQFH%HVW3DSHU$ZDUG,6
    $UHD 

7DPEH3UDVDQQD+LWW/RULQ0DQG(ULN%U\QMROIVVRQ  ³7KH([WURYHUWHG)LUP
    +RZ([WHUQDO,QIRUPDWLRQ3UDFWLFHV$IIHFW3URGXFWLYLW\´Management Science 58(5): 843-
    859>$SULRUYHUVLRQDSSHDUHGDV7DPEH6RQQ\+LWW/RULQ0DQG(ULN%U\QMROIVVRQ
      ³7KH([WURYHUWHG)LUP´Proceedings of the 27th Annual International Conference
    on Information Systems@ 5XQQHU8S,1)25067LPHV%HVW3DSHU$ZDUG 

/L;LQ[LQ+LWW/RULQ0DQG=-RKQ=KDQJ  ³3URGXFW5HYLHZVDQG&RPSHWLWLRQLQ
    0DUNHWVIRU5HSHDW3XUFKDVH3URGXFWV´Journal of Management Information Systems   
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+LWW/RULQ0;XH0HLDQG3HL<X&KHQ  ³7KH'HWHUPLQDQWVDQG2XWFRPHVRI
    ,QWHUQHW%DQNLQJ$GRSWLRQ´Management Science   
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    $QDO\WLFDO0RGHODQG(PSLULFDO$QDO\VLV´MIS Quarterly  
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     Case 4:20-cv-05640-YGR Document 450-10 Filed 04/14/21 Page 5 of 15
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    5HYLHZV´Information Systems Research   
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    3ULFLQJIRU,QIRUPDWLRQ*RRGV$1RQOLQHDU0L[HG,QWHJHU3URJUDPPLQJ$SSURDFK´
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+LWW/RULQ0DQG6RQQ\7DPEH  ³%URDGEDQG$GRSWLRQDQG&RQWHQW&RQVXPSWLRQ´
    Information Economics and Policy  
;XH0HL+LWW/RULQ0DQG3DWULFN7+DUNHU  ³&XVWRPHU(IILFLHQF\&KDQQHO
    8VDJHDQG)LUP3HUIRUPDQFHLQ5HWDLO%DQNLQJ´Manufacturing and Service Operations
    Management  
(ULF.&OHPRQV*DR*RUGRQDQG/RULQ0+LWW  ³:KHQ2QOLQH5HYLHZV0HHW
    +\SHUGLIIHUHQWLDWLRQ$6WXG\RIWKH&UDIW%HHU,QGXVWU\´Journal of Management
    Information Systems   DSUHYLRXVYHUVLRQDSSHDUHGLQWKHProceedings of the
    37th Annual Hawaii International Conference on System Sciences+RQROXOX+, 
-DFRELGHV0LFKDHO*DQG/RULQ0+LWW  ³9HUWLFDO6FRSH5HYLVLWHG7UDQVDFWLRQ
    &RVWVYV&DSDELOLWLHVDQG3URILW2SSRUWXQLWLHVLQ0RUWJDJH%DQNLQJ´Strategic
    Management Journal  
+LWW/RULQ0DQG3HL<X&KHQ  ³%XQGOLQJZLWK&XVWRPHU6HOI6HOHFWLRQ$6LPSOH
    $SSURDFKWR%XQGOLQJ/RZ0DUJLQDO&RVW*RRGV´0anagement Science  
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    ,QIRUPDWLRQ7UDQVDFWLRQ5LVNVRI,QIRUPDWLRQ([FKDQJH´Journal of Management
    Information Systems   >$QHDUOLHUYHUVLRQDSSHDUHGDV&OHPRQV(ULF.DQG
    /RULQ0+LWW  ³3RDFKLQJDQGWKH0LVDSSURSULDWLRQRI,QIRUPDWLRQ7UDQVDFWLRQ5LVNV
    RI,QIRUPDWLRQ([FKDQJH´Proceedings of the 37th Annual Hawaii International Conference
    on System Sciences+RQROXOX+,@
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    &RQWUDFWLQJZLWKD3LORW3URMHFW´Journal of Organizational Computing and Electronic
    Commerce   .>$QHDUOLHUYHUVLRQRIWKLVSDSHUDSSHDUHGDV6QLU(OLDQG/RULQ0
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6QLU(OLDQG/RULQ0+LWW  ³&RVWO\%LGGLQJLQ2QOLQH0DUNHWVIRU,76HUYLFHV´
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%U\QMROIVVRQ(ULN+LWW/RULQ0DQG6KLQN\X<DQJ  ³,QWDQJLEOH$VVHWV&RPSXWHUV
    DQG2UJDQL]DWLRQDO&DSLWDO´Brookings Papers on Economic Activity  >$Q
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      ,QWDQJLEOH$VVHWV+RZWKH,QWHUDFWLRQRI&RPSXWHUVDQG2UJDQL]DWLRQDO6WUXFWXUH
    $IIHFWV6WRFN0DUNHW9DOXDWLRQVProceedings of the 19th Annual International Conference
    on Information Systems, +HOVLQNL)LQODQG@
&KHQ3HL<XDQG/RULQ0+LWW  ³0HDVXULQJ6ZLWFKLQJ&RVWVDQG7KHLU'HWHUPLQDQWV
    LQ,QWHUQHW(QDEOHG%XVLQHVVHV$6WXG\RIWKH2QOLQH%URNHUDJH,QGXVWU\´Information
    Systems Research   >$QHDUOLHUYHUVLRQRIWKLVSDSHUDSSHDUHGDV&KHQ3HL
    <XDQG/RULQ0+LWW  ³6ZLWFKLQJ&RVWDQG%UDQG/R\DOW\LQ(OHFWURQLF0DUNHWV
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     Case 4:20-cv-05640-YGR Document 450-10 Filed 04/14/21 Page 6 of 15
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    Information Systems%ULVEDQH$XVWUDOLD@
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    3ODQQLQJ%XVLQHVV,PSDFWDQG3URGXFWLYLW\0HDVXUHV´Journal of Management
    Information Systems 6SHFLDO,VVXHRQ(53   
+LWW/RULQ0DQG)UDQFHV;)UHL  'R%HWWHU&XVWRPHUV8WLOL]H(OHFWURQLF
    'LVWULEXWLRQ&KDQQHOV"7KH&DVHRI3&%DQNLQJManagement Science  -XQH 
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    'LIIHUHQWLDWLRQLQ2QOLQH7UDYHO$Q(PSLULFDO,QYHVWLJDWLRQManagement Science 
    $SULO 
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    7HFKQRORJ\:RUNSODFH2UJDQL]DWLRQDQGWKH'HPDQGIRU6NLOOHG/DERU)LUPOHYHO
    (YLGHQFHQuarterly Journal of Economics,   >5HSULQWHGDV³7HFKQROƧLDGH
    OD,QIRUPDWLyQ2UJDQL]DWLyQGHO/XJDUGH7UDEDMR\'HPDQGDGH7UDEDMDGRUHV&DOLILFDGRV
    (YLGHQFLDD3DUWLUGH'DWRVGH(PSUHVD´&KDSWHULQ5HIRUPDV<(TXLGDG6RFLDO(Q
    $PHULFD/DWLQD<(O&DULEH &DUORV(GXDUGR9HOH]DQG3D[&DVWLOOR5XL]HGV %DQFR
    ,QWHUDPHULFDQRGH'HVDUUROOR  $QHDUOLHUYHUVLRQRIWKLVSDSHUDSSHDUHGDV
    %UHVQDKDQ7LPRWK\%U\QMROIVVRQ(ULNDQG/RULQ0+LWW  ³7HFKQRORJ\
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    Human Capital in the American Corporation 0DUJDUHW0%ODLUDQG7KRPDV$.RFKDQ
    HGV %URRNLQJV,QVWLWXWLRQ3UHVV@
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    ³,PSDFWVRIH&RPPHUFHDQG(QKDQFHG,QIRUPDWLRQ(QGRZPHQWVRQ)LQDQFLDO6HUYLFHV$
    4XDQWLWDWLYH$QDO\VLVRI7UDQVSDUHQF\'LIIHUHQWLDO3ULFLQJDQG'LVLQWHUPHGLDWLRQ´Journal
    of Financial Services Research   
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    7HFKQRORJ\2UJDQL]DWLRQDO7UDQVIRUPDWLRQDQG%XVLQHVV3HUIRUPDQFH´Journal of
    Economic Perspectives,   >5HSULQWHGDV%U\QMROIVVRQ(ULNDQG/RULQ0+LWW
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    3HUIRUPDQFH´&KDSWHULQProductivity, Inequality and the Digital Economy 1DWKDOLH
    *UHHQDQ<DQQLFN/¶+RUW\DQG-DFTXHV0DLUHVVHHGV 0,73UHVV$OVRUHSULQWHG
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    6HFWLRQ&KDSWHULQBeyond the IT Productivity Paradox /HVOLH:LOOFRFNVDQG6WHSKDQLH
    /HVWHUHGV -RKQ:LOH\DQG6RQV  DQG6HFWLRQ&KDSWHULQExploring
    Information Systems Research Approaches 5REHUW'*DOOLHUV0/\QQH0DUNXVDQG6XH

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    Information Systems9DQFRXYHU%&'HFHPEHU :LQQHURI%HVW3DSHUDQG%HVW3DSHU
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    Technology 
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    3URGXFWLYLW\(YLGHQFHIURP3URFHVVGULYHQYV,QQRYDWLRQGULYHQ3UDFWLFHV´Proceedings of
    the 34th Annual International Conference on Information Systems

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    International Conference on Information Systems 8SGDWHGYHUVLRQ6651 

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    of the 31st Annual International Conference on Information Systems UXQQHUXSEHVWSDSHU
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    5HODWHG,QWDQJLEOH&DSLWDO´Proceedings of the 30th Annual International Conference on
    Information Systems

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    International Conference on Information Systems1HZ2UOHDQV/$
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    ,QVXUDQFH&RPSDQLHV´&KDSWHULQChanges in the Life Insurance Industry: Efficiency,
    Technology and Risk Management -'DYLG&XPPLQVDQG$QWKRQ\06DQWRPHURHGV 
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-LKDH:HH6FKRRORI(QJLQHHULQJDQG$SSOLHG6FLHQFH  3URMHFW6XSHUYLVRU
=KX/X&ROOHJHRI$UWVDQG6FLHQFHV  7KHVLV6XSHUYLVRU
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MBA Students
$QQD%ODF\]\FN:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
/XFD&ROWUR:KDUWRQ6FKRRO  $GYDQFHG6WXG\3URMHFW6XSHUYLVRU
$QGUHZ7UDGHU:KDUWRQ6FKRRO  $GYDQFHG6WXG\3URMHFW6XSHUYLVRU
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Undergraduate Students
6WHYHQ$OWPDQ:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
0DXU\$SSOH:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
7DUD%KDQGDUL:KDUWRQ6FKRRO  6RFLHW\3URMHFW6XSHUYLVRU
7KRPDV%XUUHOO(QJLQHHULQJ6FKRRO  6HQLRU3URMHFW6XSHUYLVRU
7RGG%LVKRS:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
5DFKHO%RLP:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
+RSH%URPOH\:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
-RKQ&KLDQJ:KDUWRQ6FKRRO  6RFLHW\3URMHFW6XSHUYLVRU
&KDUOHQH&KHQ:KDUWRQ6FKRRO  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
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5REHUW'RODQ:KDUWRQ6FKRRO  :KDUWRQ5HVHDUFK6FKRODUV6XSHUYLVRU
5RQDN*KDQGKL6FKRRORI(QJLQHHULQJ  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
*DEULHO*RWWOHLE6FKRRORI(QJLQHHULQJ  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
3KXRQJ+R'HSDUWPHQWRI(FRQRPLFV  +RQRUV$GYLVRU
5LFKDUG+RRSHU6\VWHPV(QJLQHHULQJ  ,QGHSHQGHQW6WXG\3URMHFW$GYLVRU
+XQWHU+RUVOH\:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW$GYLVRU
0HOLQGD+X:KDUWRQ6FKRRO  :KDUWRQ5HVHDUK6FKRODUV$GYLVRU
3DZHO+\WU\:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW$GYLVRU
8OKDV-DJGDOH6FKRRORI(QJLQHHULQJ  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
-RKQQ\.RQJ:KDUWRQ6FKRRO  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
$PLQ/DNVPDQL&RPSXWHU6FLHQFHDQG(QJLQHULQJ  6HQLRU'HVLJQ6XSHUYLVRU
+HQULTXH/DXULQR:KDUWRQ6FKRRO  6HQLRU7KHVLV6XSHUYLVRU
-DFRE/HINRZLW]:KDUWRQ6FKRRO  6RFLHW\3URMHFW6XSHUYLVRU
6WHYHQ/HYLFN:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\6XSHUYLVRU
%UDQGRQ1HZEHUJ:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\6XSHUYLVRU
'DYLG3HUH]\3HUH]:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\6XSHUYLVRU
1LFNKLO5DPFKDQGL:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\6XSHUYLVRU
5HXEHQ5DQGROI6FKRRORI(QJLQHHULQJ  3URMHFW6XSHUYLVRU
.HYLQ5HHYHV6FKRRORI(QJLQHHULQJ  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
$OOLVRQ5RVHQ:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\3URMHFW6XSHUYLVRU
-HQQLIHU6HR6FKRRORI(QJLQHHULQJ  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
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'DYLG7KRUQWRQ:KDUWRQ6FKRRO  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
-RQ7XURZ:KDUWRQ6FKRRO  ,QGHSHQGHQW6WXG\6XSHUYLVRU
8GDFN9LFWRU6FKRRORI(QJLQHHULQJ  6HQLRU'HVLJQ3URMHFW6XSHUYLVRU
-DVRQ:DQJ:KDUWRQ6FKRRO  6RFLHW\3URMHFW6XSHUYLVRU
0HOLQGD:DQJ:KDUWRQ6FKRRO  6HQLRU3URMHFW6XSHUYLVRU
&KULVWLQH:RQJ:KDUWRQ6FKRRO  6RFLHW\3URMHFW6XSHUYLVRU

2WKHU6HUYLFH
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8QLYHUVLW\RI3HQQV\OYDQLD
        $FDGHPLF'LVKRQHVW\'LVFLSOLQDU\&RPPLWWHH3DQHO  
         7UXVWHHV&RPPLWWHHRQ$FDGHPLF3ROLF\  
       /LQGEDFN7HDFKLQJ$ZDUG&RPPLWWHH  
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         &XUULFXOXP,QQRYDWLRQDQG5HYLHZ&RPPLWWHH &,5&  FKDLU 
         8QGHUJUDGXDWH&XUULFXOXP(YDOXDWLRQ&RPPLWWHH  
         0DQDJHPHQW'HSDUWPHQW45HYLHZ&RPPLWWHH&KDLU               
       :KDUWRQ3HUVRQQHO&RPPLWWHH  
         'HDQ¶V$GYLVRU\*URXS  
       3DQHO0RGHUDWRU:KDUWRQ$VLD%XVLQHVV)RUXP  
         8QGHUJUDGXDWH&XUULFXOXP'HVLJQ&RPPLWWHH  
         3K'3URJUDP5HYLHZ&RPPLWWHH  
       'HDQ¶V&RXQFLORQ(GXFDWLRQ  
       :HE,&XUULFXOXP'HYHORSPHQW&RPPLWWHH  
:KDUWRQ6FKRRO8QGHUJUDGXDWH'LYLVLRQ
         0RGHUDWRU:KDUWRQ,QIRUPDWLRQ7HFKQRORJ\&DUHHU3DQHO  
         *UDGXDWLRQ6SHDNHU  
       3DUHQWV:HHNHQG6SHDNHU  
       +DXFN7HDFKLQJ$ZDUG&RPPLWWHH  
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             (OHFWURQLF&RPPHUFH&RQFHQWUDWLRQ$GYLVRU SUHVHQW 
           :KDUWRQ0RQLWRU&RUSRUDWLRQ8QGHUJUDGXDWH&DVH&RPSHWLWLRQ-XGJH  
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:KDUWRQ6FKRRO'HSDUWPHQWRI2SHUDWLRQVDQG,QIRUPDWLRQ0DQDJHPHQW2,''
           5HFUXLWLQJ&RPPLWWHH  
           'RFWRUDO$GPLVVLRQV&RPPLWWHH  
             'HSDUWPHQW45HYLHZ&RPPLWWHH  
             8QGHUJUDGXDWH&RRUGLQDWRU  
             8QGHUJUDGXDWH&XUULFXOXP&RPPLWWHH  
             'HSDUWPHQW&RPSXWLQJ&RRUGLQDWRU  
             'HSDUWPHQW5HSUHVHQWDWLYHWR:KDUWRQ&RPSXWLQJ  
             'HSDUWPHQW6HPLQDU&RRUGLQDWRU  
             'HSDUWPHQWDO7HQXUH&RPPLWWHHV  
 :KDUWRQ6FKRRO3XEOLF3ROLF\,QLWLDWLYH
            :KDUWRQ26(7)RXQGDWLRQ3URMHFWRQWKH9RWLQJ7HFKQRORJ\,QGXVWU\  
 0RUJDQ6WDWH8QLYHUVLW\
            $GYLVLQJRQ&XUULFXOXP'HVLJQ  
 0,7&HQWHUIRU&RRUGLQDWLRQ6FLHQFH
            6HPLQDU&RRUGLQDWRU  
 1DWLRQDO6FLHQFH)RXQGDWLRQ
            3DQHOLVW  
            3DUWLFLSDQWLQWKH16)&,6(6%(&\EHULQIUDVWUXFWXUH:RUNVKRS  
 ,QWHUQDWLRQDO&RQIHUHUHQFHRQ,QIRUPDWLRQ6\VWHPV
            'RFWRUDO&RQVRUWLXP)DFXOW\  
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